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 1                                                          The Honorable Judge James L. Robart
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10
     UNITED STATES OF AMERICA,                      NO. CR20-0001JLR
11
12                              Plaintiff,
                                                    MINUTE ORDER VACATING
13                       v.                         TRIAL DATE
14
     J. SOCORRO NUNEZ-MEDRANO,
15
16                              Defendant.
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18         The clerk issues the following minute order by the authority of the Honorable
19 James L. Robart, United States District Court Judge.
20         On December 30, 2020, Chief United States District Judge Ricardo S. Martinez
21 entered General Order 18-20, which extended the procedures established by General Order
22 15-20 until March 31, 2021, and continued all criminal in-person hearings and trial dates in
23 the Seattle and Tacoma courthouses scheduled to occur before March 31, 2021.
24         Having considered the record in this matter, and pursuant to General Order 18-20 for
25 the Western District of Washington, the Court finds the trial date of March 29, 2021, cannot
26 proceed as scheduled, and the ends of justice served by granting a continuance outweighed
27 the best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A),
28 (B)(i), (iv).



     MINUTE ORDER VACATING TRIAL DATE
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1         Accordingly, the trial date in this matter is vacated. At the expiration of General
2 Order 18-20, the court will set a status conference. The purpose of the status conference will
3 be to discuss a date on which the trial can be scheduled and take place without any potential
4 impact on the health of all participants or the community.
5         IT IS FURTHER ORDERED that, pursuant to General Order 18-20, the time between
6 January 4, 2021, and March 31, 2021 is excludable under the Speedy Trial Act, as the Court
7 finds that the ends of justice served by ordering the continuances outweigh the best interests
8 of the public and any defendant’s right to a speedy trial, pursuant to 18 U.S.C.
9 §3161(h)(7)(A).
10
11        DATED this 12th day of January, 2021.
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13                                           WILLIAM M. McCOOL,
                                             Clerk of the Court
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15                                            /s/ Ashleigh Drecktrah
                                             Deputy Clerk to Hon. James L. Robart
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     MINUTE ORDER VACATING TRIAL DATE
